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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 323: ORDER
                                                    GRANTING IN PART AND
   Glassman v. Monsanto Co.,                        DENYING IN PART MONSANTO'S
   Case No. 3:20-cv-00024-VC                        MOTION TO EXCLUDE EXPERT
                                                    LOVECCHIO AND MOTION FOR
   Iona v. Monsanto Co.,                            SUMMARY JUDGMENT
                                                    Re: Dkt. No. 19041
   Case No. 3:20-cv-02404-VC

   Berenfeld v. Monsanto Co.,
   Case No. 3:18-cv-01428-VC

   Proctor v. Monsanto Co.,
   Case No. 3:21-cv-00172-VC

   Belfleur v. Monsanto Co.,
   Case No. 3:20-cv-00621-VC

   Thompson v. Monsanto Co.,
   Case No. 3:20-cv-08851-VC

   Holmes v. Monsanto Co.,
   Case No. 3:20-cv-03363-VC


       Monsanto’s motion to exclude the testimony of Dr. Frank LoVecchio is granted in part

and denied in part. This ruling assumes the reader’s familiarity with the facts, the applicable

legal standard, the prior Daubert rulings in this MDL, and the arguments made by the parties.

See generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal.
2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358
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F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto

Company, 997 F.3d 941 (9th Cir. 2021).

                                                      I

       In their opposition, the plaintiffs state they “no longer seek to offer LoVecchio’s general

causation opinions in any of the underlying seven (7) cases.” Dkt. No. 19428 at 2, n.1.

                                                      II

       1. Monsanto argues that LoVecchio’s “ruling in” process was flawed in every case

because he does not offer an admissible general causation opinion or a reliable exposure

analysis. As Monsanto acknowledges, the Court has ruled on similar arguments in prior orders.

See Pretrial Order No. 290 (Dkt. No. 18320). LoVecchio appropriately relies on the admissible

general causation opinions of other experts, and his exposure calculations are similar to those

approved in PTO 290. Accordingly, LoVecchio’s “ruling in” process does not merit the

exclusion of his opinion.

       2. LoVecchio’s opinion in the Iona case is excluded because he was not able to reliably

rule out Iona’s brother’s polycythemia vera. Iona does not seem to contest that polycythemia

vera is a type of chronic leukemia, and that a first-degree relative with leukemia is a risk factor

for NHL. Instead, she makes a narrow argument that LoVecchio accurately testified “that he

knows of no paper or article that draws any convincing link of a family history of PV and an
increased risk of developing NHL,” implying that even if a family history of hematological

cancers in general is a risk factor, the same can’t be said for PV, specifically. Opp. (Dkt. No.

19428) at 16. But LoVecchio didn’t say he isn’t convinced of the link between PV and NHL, he

just said he wasn’t familiar with the research. See LoVecchio Dep. (Iona) (Dkt. No. 19428-4) at

281:25–282:3 (“I'm not familiar with any limit -- I'm not familiar with a paper that convincingly

says that it's an increased risk. I have to do a deeper dive, though.”). LoVecchio’s willful

blindness to a risk factor he should have investigated doesn’t help him. Monsanto has presented

sufficient evidence that LoVecchio should have considered Iona’s family history of leukemia—




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that he didn’t renders his opinion unreliable.1

       3. Monsanto’s motion in the Berenfeld case is denied. As in Iona, LoVecchio conducted a

sloppy review of the medical records and did not seem to know about relevant aspects of the

plaintiff’s family history, including Berenfeld’s mother’s mycosis fungiodes, a type of NHL. At

deposition, one response LoVecchio offered was that mycosis fungiodes is associated with

mutations that didn’t appear in Berenfeld’s genetic testing. See LoVecchio Dep. (Berenfeld)

(Dkt. No. 19428-6) at 59:4–60:10. The Court is not in a position to know whether this

explanation is scientifically sound, but Monsanto doesn’t challenge it in its motion (or on reply,

despite Berenfeld discussing it at some length in the opposition), so it is not a basis for excluding

the opinion. LoVecchio also gave reasonable explanations for how he ruled out race and

Berenfeld’s medical history. See LoVecchio Dep. (Berenfeld) at 42:4–20 (race); id. at 96:13–

100:6 (Hashimoto’s thyroiditis); id. at 74:3–16 (lupus); id. at 115:10–116:9 (mononucleosis).

       4. Monsanto’s motion in the Proctor case is also denied. For each of the risk factors

Monsanto identifies in its motion, LoVecchio’s testimony is essentially that although they are

risk factors, their effects are not significant and can be excluded. For example, Proctor’s sister’s

breast cancer may have played some role in Proctor’s NHL, but it was “unlikely to play a

significant role.” LoVecchio Dep. (Proctor) (Dkt. No. 19041-6) at 124:14–22. The same is true

for his discussion of age, sex, and race. See id. at 94:5–15. For Proctor’s eczema and melanoma,
LoVecchio testified that they were both mild and, in the case of the melanoma, treated, which

put him at lower risk. See id. at 133:22–25, 143:6–21. Taken as a whole, LoVecchio’s testimony

shows he sufficiently considered Proctor’s individual risk factors.

       5. LoVecchio’s opinion is excluded in Thompson because he failed to reliably rule out the

plaintiff’s smoking history. The portion of LoVecchio’s report that covers smoking and NHL

seems to analyze a different person’s smoking history—someone named Mr. Gorman, who had


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 LoVecchio also appears to have significantly downplayed Iona’s smoking history in a results-
driven fashion. This may well be a separate ground for exclusion, but in any event it renders his
overall opinion even less reliable.


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MALT lymphoma. See LoVecchio Report (Thompson) (Dkt. No. 19428-9) at 29. LoVecchio’s

report concludes there is no known association between smoking and MALT lymphoma, so rules

out Mr. Gorman’s smoking. Id. At deposition, LoVecchio admitted that section was “carried

over from another report.” LoVecchio Dep. (Thompson) (Dkt. No. 19041-8) at 112:3–5. That

mistake wouldn’t necessarily have resulted in LoVecchio’s exclusion if he had been able to

satisfactorily explain how that analysis would apply to Thompson. But his explanation came up

short, especially about the Schollkopf study, which found a possible association between

smoking and Thompson’s subtype (T-cell lymphoma). See id. at 113:13–19.

       6. Monsanto’s arguments in Belfleur are similar to those it made in Proctor, and that

portion of the motion is denied for similar reasons. LoVecchio testified that for all three factors

Monsanto targets (age, sex, and diabetes), the resulting increase in risk is fairly small and can be

reasonably excluded. See LoVecchio Dep. (Belfleur) (Dkt. No. 19041-2) at 145:8–17 (age, sex),

156:2–7 (diabetes).

       7. In Glassman, Monsanto’s arguments about age and gender are rejected for the same

reasons as they were in Proctor and Belfleur: LoVecchio testified the increase in risk is small

enough that it could be excluded. See LoVecchio Dep. (Glassman) (Dkt. No. 19041-3) at 15:24–

16:1 (age), 16:10 (sex). Regarding weight as a risk factor, LoVecchio accurately testified that

Glassman was overweight, but not obese. See id. at 18:6–8. His explanation that Glassman’s
weight did not put him at increased risk for NHL because his BMI was “just barely” into the

overweight category is reasonable. Id. at 21:4–11.

       8. In Holmes, LoVecchio’s report shows that he considered Holmes’ weight and smoking

history in forming his opinion. LoVecchio noted in his report that Holmes had relatively few

periods of obesity in his life, which would not contribute substantially to his risk for NHL. See

LoVecchio Report (Holmes) (Dkt. No. 19428-15) at 32–37. His deposition testimony was

consistent on that point. See LoVecchio Dep. (Holmes) (Dkt. No. 19428-16) at 50:4–19. On

smoking, Monsanto pointed out at deposition that LoVecchio reported two different pack-year
estimates: one was 3 pack-years (based on his interview with Holmes), and one was a little under


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20-pack years (based on two medical records). See id. at 56:18–58:5. LoVecchio said he adopted

the 3 pack-year estimate because the medical records were inconsistent, with some saying 20

pack-years and some saying he never smoked, and he thought Holmes would have no reason to

lie to him. See id. LoVecchio admitted that if Holmes had smoked 20 pack-years, that “could

have some bearing” on his development of NHL. Id. at 59:4–5. But LoVecchio also pointed out

that the literature was mixed on that point. Id. at 58:6–20. Combined with his thin-but-plausible

explanation for why he believed his interview with Holmes was a more accurate estimate of

Holmes’ smoking history, his opinion on smoking does not require his exclusion. See id. at

56:25–57:22. Nor does his discussion of age or sex. See id. at 47:10–48:6 (sex), 45:13–46:11

(age).

          9. Monsanto did not adequately explore the issue of naturally occurring genetic mutations

with LoVecchio (or at least it didn’t show in its motion that it did so). See LoVecchio Dep.

(Belfleur) (Dkt. No. 19041-2) at 160:11–16. Moreover, the failure to rule out naturally occurring

genetic mutations will generally not warrant exclusion of a specific causation expert if that

expert presents an admissible opinion that Roundup was the cause of the plaintiff’s NHL. See

Pretrial Order No. 321 (Dkt. No. 20393). Therefore, that portion of Monsanto’s motion is denied.

          IT IS SO ORDERED

Dated: March 28, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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